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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION
LA UNIÓN DEL PUEBLO ENTERO et al.

vs.                                                     Case No.: 5:21-cv-844-XR
GREGORY W. ABBOTT, in his official
capacity as the Governor of Texas, et al.

                        MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Jasmine M. Johnson                                               , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of
                                  Plaintiffs LA UNIÓN DEL PUEBLO ENTERO, SOUTHWEST VOTER
                                  REGISTRATION EDUCATION PROJECT, MEXICAN AMERICAN BAR
Texas pro hac vice to represent   ASSOCIATION OF TEXAS, TEXAS HISPANICS ORGANIZED FOR      in this case, and
                                  POLITICAL EDUCATION, JOLT ACTION, WILLIAM C. VELASQUEZ
                                  INSTITUTE, and FIEL HOUSTON INC.
would respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
               Fried, Frank, Harris, Shriver & Jacobson LLP                     with offices at:

               Mailing address: One New York Plaza

               City, State, Zip Code: New York, New York 10004

               Telephone: (212) 859-8000                         Facsimile: (212) 859-4000


       2.      Since    June 6, 2022                               , Applicant has been and presently is a

               member of and in good standing with the Bar of the State of New York                            .

               Applicant's bar license number is 5944020                                                       .


       3.      Applicant has been admitted to practice before the following courts:

               Court:                                            Admission date:
               New York                                           June 6, 2022
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4.    Applicant is presently a member in good standing of the bars of the courts listed above,

      except as provided below (list any court named in the preceding paragraph before which

      Applicant is no longer admitted to practice):
      N/A




5.    I      have         have not previously applied to Appear Pro Hac Vice in this district

      court in Case[s]:

      Number:                              on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

6.    Applicant has never been subject to grievance proceedings or involuntary removal

      proceedings while a member of the bar of any state or federal court, except as

      provided:
      N/A




7.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

      except as provided below (omit minor traffic offenses):
      I was cited in California for inadvertently bringing a personal safety taser through a
      TSA airport checkpoint in December 2018. The citation was ultimately dismissed in
      August 2019.




8.    Applicant has read and is familiar with the Local Rules of the Western District of Texas

      and will comply with the standards of practice set out therein.
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          9.     Applicant will file an Application for Admission to Practice before the United States

                 District Court for the Western District of Texas, if so requested; or Applicant has

                 co-counsel in this case who is admitted to practice before the United States District

                 Court for the Western District of Texas.

                 Co-counsel: Nina Perales, Mexican American Legal Defense and Educational Fund

                 Mailing address: 110 Broadway, Suite 300

                 City, State, Zip Code: San Antonio, TX 78201

                 Telephone: (210) 845-5147


          Should the Court grant applicant's motion, Applicant shall tender the amount of $100.00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
Jasmine M. Johnson                        to the Western District of Texas pro hac vice for this case only.


                                                       Respectfully submitted,

                                                        Jasmine M. Johnson
                                                       [printed name of Applicant]

                                                        s/ Jasmine Johnson
                                                       [signature of Applicant]


                                      CERTIFICATE OF SERVICE

          I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the        day of                         ,          .


                                                        Jasmine M. Johnson
                                                       [printed name of Applicant]


                                                       [signature of Applicant]
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                                         UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF TEXAS
                                                 SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO et al.

YV                                                                         &DVH1R 5:21-cv-844-XR
GREGORY W. ABBOTT, in his official
capacity as the Governor of Texas, et al.


                                                                   ORDER

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                                                                            UNITED STATES DISTRICT JUDGE
